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AD 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                          UNITED STATES DISTRICT COURT                                                  FilED
                                                SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                                 HI' JUN 15 PH I: 26
               UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMiNAL CASE                                 .
                                     V.                                      (For Offenses Committed On or A=_~
           JEREMY MICHAEL HERNANDEZ (1)
                                                                                Case Number:         lSCR1416-8'i\S       1h           ~~
                                                                             PA TRICK Q. HALL
                                                                             Defendant's Attorney
REGISTRATION NO.                     49998298
IZI Correction of Sentence for Clerial Mistake (Fed. R. Crim, P. 36)

IZI pleaded guilty to count(s)              THREE (3) AND SEVEN (7) OF THE INDICTMENT

D was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                              Count
Title & Section                         Nature of Offense                                                                    Number(s)
8 USC 1324(a)(2)(B)(ii)                 BRINGING IN CERTAIN ALIENS FOR FINANCIAL GAIN                                              3
AND 18 USC 2                            AND AIDING AND ABETTING
18 USC I 11 (a)(l) AND                  ASSAULT ON A FEDERAL OFFICER                                                               7
(b)



     The defendant is sentenced as provided in pages 2 through                         4            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
D     The defendant has been found not gUilty on count(s)

IZI Count(s)        UNDERLYING AND REMAINING                           are         dismissed on the motion of the United States.

IZI   Assessment: $200.00 ($100 AS TO EACH COUNT)



IZI   No fine                      D Forfeiture pursuant to order filed                                                 , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.


                                                                             JUNE 13.2016




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AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:                JEREMY MICHAEL HERNANDEZ (1)                                             Judgment - Page 2 of 4
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                                                          IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to he imprisoned for a term of:
 COUNT THREE (3): THIRTY SIX (36) MONTHS AND COUNT SEVEN (7): FORTY SIX (46) MONTHS TO RUN
 CONCURRENT FOR A TOTAL OF FORTY SIX (46) MONTHS




 o     Sentence imposed pursuant to Title 8 USC Section 1326(h).
 1ZI   The court makes the following recommendations to the Bureau of Prisons:
       THE COURT RECOMMENDS THE DEFENDANT BE PLACED IN THE BOP RESIDENTIAL DRUG
       AND ALCOHOL TREATMENT PROGRAM (RDAP).
       THE COURT RECOMMENDS THE DEFENDANT BE DESIGNATED TO TERMINAL ISLAND FOR
       FAMILY VISITS.

 o     The defendant is remanded to the custody of the United States MarshaL

 o     The defendant shall surrender to the United States Marshal for this district:
       o    at
                 ------------------------------------- A.M.      on
                                                                      ------------------------------------------
       o    as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o     Prisons:
       o    on or before
       o    as notified by the United States Marshal.
       o    as notified by the Probation or Pretrial Services Office.

                                                              RETURN
 I have executed this judgment as follows:

       Defendant delivered on
                                  ------------------------ to -----------------------------
 at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                      UNITED STATES MARSHAL



                                           By                   DEPUTY UNITED STATES MARSHAL


                                                                                                       15CR1416-BAS
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      AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

      DEFENDANT:                   JEREMY MICHAEL HERNANDEZ (1)                                                                Judgment - Page 3 of 4
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                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
COUNTS THREE (3): AND COUNT SEVEN (7): THREE (3) YEARS TO RUN CONCURRENT TO EACH OTHER


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shaH not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
            The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o           substance abuse. (Check, ifapplicable.)
lEI         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
            The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
            Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
            The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o           seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
            resides, works, is a student, or was convicted of a qualifying offense. (Check ifapplicable.)
o           The defendant shall participate in an approved program for domestic violence. (Check ifapplicable.)

            If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
       such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
       Payments set forth in this judgment.
            The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
        with any special conditions imposed.
                                           STANDARD CONDITIONS OF SUPERVISION
       I)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
       2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions ofthe probation officer;
       4)  the defendant shall support his or her dependents and meet other family responsibilities;
       5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
           reasons;
       6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
       7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
           any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted ofa felony, unless
           granted permission to do so by the probation officer;
       10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
           observed in plain view ofthe probation officer;
       11) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
       12) the defendant shall not enter into any agreement to act as an informer or a special agent ofa law enforcement agency without the permission ofthe
           court; and
       13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
           personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance with
           such notification requirement.


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DEFENDANT:              JEREMY MICHAEL HERNANDEZ (I)                                          Judgment - Page 4 of 4
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                                 SPECIAL CONDITIONS OF SUPERVISION


     1. Participate in a program of drug or alcohol abuse treatment, including drug testing and counseling, as
        directed by the probation officer. Allow for reciprocal release of information between the probation
        officer and the treatment provider. May be required to contribute to the costs of services rendered in an
        amount to be determined by the probation officer, based on ability to pay.

     2. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

     3. Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of up to
        120 days (non-punitive).

     4. Resolve all outstanding warrants within 60 days.

     5. Submit your person, property, residence, office or vehicle to a search, conducted by a United States
        Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
        contraband or evidence of a violation of a condition of release; failure to submit to a search may be
        grounds for revocation; the defendant shall warn any other residents that the premises may be subject to
        searches pursuant to this condition.


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